     Case 2:10-cr-00236-GMN-PAL           Document 58       Filed 01/06/11        Page 1 of 1




 1
 2
 3
 4
                                  UNITED STATES DISTRICT COURT
 5
                                       DISTRICT OF NEVADA
 6
                                                   ***
 7
 8 UNITED STATES OF AMERICA,           )
                                       )
 9                                     )
               Plaintiff,              )                 2:10-CR-00236-5-GMN-LRL
10
                                       )
11 v.                                  )
                                       )
12 SHARON J. WAGNER,                   )
                                       )
13
               Defendant.              )                 ORDER
14 ____________________________________)
15                 On January 3, 2011, this Court granted Defendant Sharon J. Wagner’s Motion to
16
     Withdraw as Attorney (doc. 55), submitted by Natricia Tricano.
17
                   IT IS ORDERED that JEREMY DELCINO is appointed as counsel in place of
18
19 Natricia Tricano for all future proceedings.
20                 Ms. Tricano shall forward the file to Mr. Delcino forthwith.
21                DATED this 6th day of January, 2011.
22
23                                                     ____________________________________
                                                       UNITED STATES MAGISTRATE JUDGE
24
25
26
27
28
